                                               United States Bankruptcy Court
                                                    District of Oregon
Cox,
              Plaintiff                                                                           Adv. Proc. No. 18-06028-tmr
Lee, II,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0979-6                  User: Admin.                       Page 1 of 1                          Date Rcvd: Sep 13, 2018
                                      Form ID: pdf018                    Total Noticed: 4

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 15, 2018.
pla            +Francis Schaeffer Cox,   16179-006 - FCI Terre Haute,   POB 33,   Terre Haute, IN 47808-0033
intp           +Ron Lee,   2051 Jones Creek,   Grants Pass, OR 97526-3652
dft            +Ronald Eugene Lee, II,   4775 Demaray Dr. #B,   Grants Pass, OR 97527-7102

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion18.eg.ecf@usdoj.gov Sep 14 2018 01:38:31     US Trustee, Eugene,
                 405 E 8th Ave #1100,   Eugene, OR 97401-2728
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 15, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 13, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




                                       Case 18-06028-tmr             Doc 20        Filed 09/15/18
                                                                                        DISTRICT OF OREGON
                                                                                             FILED
                                                                                          September 13, 2018
                                                                                      Clerk, U.S. Bankruptcy Court



           Below is an Order of the Court.
 1
 2
 3
 4
 5
                                                                      _______________________________________
 6                                                                                THOMAS M. RENN
                                                                                U.S. Bankruptcy Judge
 7
 8
 9
10                                    UNITED STATES BANKRUPTCY COURT
11                                        FOR THE DISTRICT OF OREGON
12   In Re:                                                 )      Bankruptcy Case
                                                            )      No. 18-60547-tmr13
13   RONALD EUGENE LEE, II,                                 )
                                                            )
14                                      Debtor.             )
                                                            )
15   FRANCIS SCHAEFFER COX,                                 )      Adversary Proceeding
                                                            )      No. 18-6028-tmr
16                                      Plaintiff,          )
                                                            )
17               v.                                         )
                                                            )
18   RONALD EUGENE LEE, II,                                 )      ORDER OF DISMISSAL
                                                            )      WITH PREJUDICE
19                                      Defendant.          )
20                Based upon Plaintiff’s motion to dismiss this adversary proceeding as the matter has been
21   resolved;
22                IT IS ORDERED that the above-referenced adversary proceeding be dismissed with prejudice;
23   and
24                IT IS FURTHER ORDERED that each party shall bear their own fees and costs.
25
26                                                         ###




     ORDER OF DISMISSAL WITH PREJUDICE-1


                              Case 18-06028-tmr         Doc 20     Filed 09/15/18
